
339 N.W.2d 567 (1983)
STATE of North Dakota, Plaintiff and Appellee,
v.
Robert JENKINS, Defendant and Appellant.
Cr. No. 936.
Supreme Court of North Dakota.
October 31, 1983.
*568 Richard C. Wilkes, Asst. State's Atty., Minot, for plaintiff and appellee.
Phillip D. Armstrong, Minot, for defendant and appellant.
SAND, Justice.
The defendant, Robert Jenkins, appealed from the order denying his motion for judgment of acquittal.
The right of appeal in this State is purely statutory and is a jurisdictional matter which we may consider sua sponte. Trehus v. Job Service of North Dakota, 336 N.W.2d 362 (N.D.1983); State v. Jefferson Park Books, Inc., 314 N.W.2d 73 (N.D.1981).
The statutory authorization for appeals by the defendant to this Court in criminal matters is North Dakota Century Code § 29-28-06.
An appeal from an order denying a motion for judgment of acquittal is not contained within the aforementioned section and is not appealable per se, but would be reviewable as an issue if an appeal from the judgment of conviction or a verdict had been taken. But this is not what happened in this case.
Accordingly, the appeal is dismissed.
ERICKSTAD, C.J., and VANDE WALLE, PEDERSON and PAULSON, JJ., concur.
PAULSON, J., sitting as Surrogate Justice.
